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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 RUBY FREEMAN and WANDREA' MOSS,

                         Plaintiffs,

         V.
                                                                   Case No. 24-cv-6563 (LJL)
 RUDOLPH W. GIULIANI,

                         Defendant.


                    DECLARATION OF REGINA S. SCOTT
       IN SUPPORT OF PLAINTIFFS' MOTION FOR SUMMARY JUDGEMENT

I, Regina S. Scott, hereby declare as follows pursuant to 28 U.S.C. § 1746:

        1.       I am over 18 years of age and not a party to this action.

       2.        I was engaged by counsel for Plaintiffs Ruby Freeman and Wandrea' ArShaye

Moss (collectively, "Plaintiffs"), to review statements made by Mr. Rudolph W. Giuliani (the

"Defendant") about his location between June 17, 2024 and August 29, 2024, and to review video

livestreams broadcast by the Defendant that indicate his location during that time period.

        3.       I have personally reviewed Mr. Giuliani's public broadcasts of his daily livestream

programs, The Rudy Giuliani Show and America's Mayor Live. Where applicable, I have also

reviewed other information relevant to Defendant's location derived from social media posts and

press reports.

       4.        Mr. Giuliani simultaneously published each of his daily livestream programs on

multiple platforms, including but not limited to YouTube, Twitter/X, Facebook, and Rumble. The

livestreams remain publicly accessible on most if not all of those platforms. For each livestream

program, however, I have provided a link to only one such platform where the program remains
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publicly accessible, and an archival link using the perma.cc service. I have also maintained

downloaded copies of each video livestream and provided them to Plaintiffs' counsel.

        5.       All quotations from the livestream programs transcribed below are true and correct

transcriptions of statements that Mr. Giuliani made on the respective programs, at the time codes

listed. Unless otherwise indicated, quotations from Mr. Giuliani's broadcasts are Mr. Giuliani's

own words ..

        6.       On May 26, 2024 at 10:00 a.m., Mr. Giuliani broadcast an episode of his show,

Uncovering the Truth. 1 The background of the video matches publicly available photographs of

Mr.      Giuliani's       Palm       Beach        Condo. 2       This      episode       lS      available      at

https://www.youtube.com/watch?v=ubqPs2b3qrg. true and correct copy of that video is submitted

with this Declaration as Exhibit 1.

        7.       On Monday June 17, 2024, Mr. Giuliani broadcast an episode of The Rudy Giuliani

Show. 3 During the show, Mr. Giuliani stated "we are here in New York." 4 The background behind

Mr. Giuliani appears to be his New York Apartment. 5 This episode is available at

https://www.youtube.com/watch?v=CfVtnvORzko. A true and correct copy of that video is

submitted with this Declaration is submitted with this Declaration as Exhibit 2.




1 Rudy W. Giuliani, Uncovering the Truth, Uncovering the Truth (E3): Sunday, May 26, 2024, YouTube (May 26,

2024 10:00 AM EST) https://www.youtube.com/watch?v=ubgPs2b3grg.
2 Brian Bandell, Rudy W Giuliani, wife list Palm Beach condo for sale (Photos), The Business Journals (June 12,

2019 1:36 PM EDT), photo 4 of 15 (https://www.bizjournals.com/southflorida/news/2019/06/12/rudy-giuliani-wife-
list-palm-beach-condo-for-sale.html).
3 Rudy W. Giuliani, The Rudy Giuliani Show, The Rudy Giuliani Show (E26): Obama Helps Eiden Off Stage,

YouTube, (June 17, 2024 3:00 PM EST) https://www.youtube.com/watch?v=CfVtnvORzko (archived at
https://perma.cc/DH3X-BFJX).
4 Id at 0:00--0:04.
5 45 East 66th Street, lOW New York, New York, 10065 United States, Sotheby's International Realty

https://www .sothebysrealty.com/eng/sales/detaiVl 80-l-1182-s4lfid/45-east-66th-street-1 0w-lenox-hill-new-york-ny-
10065.


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        8.      On Tuesday June 18, 2024 and Wednesday June 19, 2024, Mr. Giuliani broadcast

episodes of The Rudy Giuliani Show and America's Mayor Live in of backgrounds that are either

computer generated or do not suggest his location. 6

        9.      The June 18, 2024 episode of The Rudy Giuliani Show is available at

https://www.youtube.com/watch?v=Lr90JifA2co.               A true and correct copy of that video 1s

submitted with this Declaration as Exhibit 3.

        10.     The June 18, 2024 episode of America's Mayor Live is available at

https://www.youtube.com/watch?v=DDLIOruiztA. A true and correct copy of that video is

submitted with this Declaration as Exhibit 4.

        11.     The June 19, 2024 episode of The Rudy Giuliani Show                        1s available at

https://www.youtube.com/watch?v=c5ejj0e5RZY. A true and correct copy of that video is

submitted with this Declaration as Exhibit 5.

        12.     The June 19, 2024 episode of America's Mayor Live                         1s available at

https://www.youtube.com/watch?v=xOlsF09tWVs. A true and correct copy of that video is

submitted with this Declaration as Exhibit 6.




6 Rudy W. Giuliani, The Rudy Giuliani Show, The Rudy Giuliani Shaw (E27): Illegal Immigration is Destroying

America, YouTube, (June 18, 2024 8:00 PM Esn https://www.youtube.com/watch?v=Lr90JifA2co (archived at
https://perma.cc/85T9-OTFX); Rudy W. Giuliani, America's Mayor Live, America's Mayor Live (E432): Joe Eiden
is     Getting    Worse   by     the   Hour,     YouTube,    (June     18,    2024      8:00    PM      Esn
https://www.youtube.com/watch?v=DDLIOrulztA (archived at https://perma.cc/9CPT-R7VF): Rudy W. Giuliani,
The Rudy Giuliani Show, The Rudy Giuliani Show (E28): Honoring Willie Mays-A Giant ofNew York, YouTube,
(June 19, 2024 3:00 PM EST) https://www.youtube.com/watch?v=c5ejj0e5RZY (archived at https://perma.cc/ET74-
LHX7); Rudy W. Giuliani, America's Mayor Live, America's Mayor Live (E432): Joe Eiden is Getting Worse by the
Hour, YouTube, (June 19, 2024 8:00 PM Esn https://www.youtube.com/watch?v=x0lsF09tWVs (archived at
https://perma.cc/7ULT-GE9R).


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        13.     On Thursday June 20, 2024, Mr. Giuliani broadcast an episode of The Rudy

Giuliani Show and an episode of America's Mayor Live. 7 Mr. Giuliani appears in front a wall

mounted television, which displayed an American flag for segments of the broadcast.

        14.     The June 20, 2024 episode of The Rudy Giuliani Show is available at

https://www.youtube.com/watch?v=IqIEUJie2DI.              A true and correct copy of that video 1s

submitted with this Declaration as Exhibit 7.

        15.     The June 20, 2024 episode of America's Mayor Live is available at

https://www.youtube.com/watch?v=7nkH9Sc7Yqw. A true and correct copy of that video is

submitted with this Declaration as Exhibit 8.

        16.     On Friday June 21, 2024, Mr. Giuliani broadcast America's Mayor Live. 8 Mr.

Giuliani began the broadcast by saying "Good evening, this is Rudy Giuliani with America's

Mayor Live and tonight, we're coming to you from New Hampshire." 9 Mr. Giuliani appears to be

in front of a wall mounted television, which displayed an American flag for segments of the

broadcast. This episode is available at https://x.com/RudyGiuliani/status/1804303409044164798.

A true and correct copy of that video is submitted with this Declaration as Exhibit 9.

        17.     On Monday, June 24, 2024, Mr. Giuliani broadcast America's Mayor Live. 10 Mr.

Giuliani began the broadcast by saying "Good evening. This is Rudy Giuliani with America's




7 Rudy W. Giuliani, The Rudy Giuliani Show,  The Rudy Giuliani Show (E29): Joe Biden's Con Job on the Border,
YouTube, (June 20, 2024 3:00 PM EST) https://www.youtube.com/watch?v=IgIEUlle2DI (archived at
https://perma.cc/KC5Y-6D7P); Rudy W. Giuliani, America's Mayor Live, America's Mayor Live (E434): ELECTION
2024-Previewing Next Week's Debate Between Trump & Eiden, YouTube, (June 20, 2024 8:00 PM EST)
https://www.youtube.com/watch?v=7nkH9Sc7Yqw (archived at https://perma.cc/E74Z-KJ2B).
8Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E435): ELECTION 2024-New

Polling Reveals New            Trends    Among    Voters,    X,    (June    21,    2024   8:00   PM     EST)
https://x.com/RudyGiuliani/status/1804303409044164798 (archived at https://perma.cc/B7W4-CE7Y).
9 Id at 0:00--0:14.
10 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E436): ELECTION 2024-

Previewing       Thursday's    Presidential  Debate,      X,    (June     24,    2024    8:00   PM      EST)
https://x.com/RudyGiuliani/status/1805390500264132812 (archived at https://perma.cc/56U5-Y8TV).


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Mayor Live and uh we're coming to you from New Hampshire." 11 Mr. Giuliani appears to be in

front of a wall mounted television, which displayed an American flag for segments of the

broadcast. This episode is available at https://x.com/RudyGiuliani/status/1805390500264132812.

A true and correct copy of that video is submitted with this Declaration as Exhibit 10.

          18.       On Tuesday, June 25, 2024, Mr. Giuliani broadcast America's Mayor Live. 12 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for

segments           of     the     broadcast.             This       episode       IS       available      at

https://www.youtube.com/watch?v=i9xM4fK5TWU. A true and correct copy of that video is

submitted with this Declaration as Exhibit 11.

          19.       On Wednesday, June 26, 2024, Mr. Giuliani broadcast America's Mayor Live.13

Mr. Giuliani began the broadcast by saying "Good evening, this is Rudy Giuliani with America's

Mayor Live and uh, as you know I think, we're coming to you from New Hampshire." 14 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for

segments           of     the     broadcast.             This       episode       IS       available      at

https://x.com/RudyGiuliani/status/1806115297797284136. A true and correct copy of that video

is submitted with this Declaration as Exhibit 12.

          20.       On Thursday, June 27, 2024, Mr. Giuliani broadcast America's Mayor Live. 15 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for



11 Id at 0:00---0:12.
12 Rudy W.    Giuliani, America's Mayor Live, America's Mayor Live (E437): Previewing Thursday Night's Debate
Between         Trump     &       Eiden,      YouTube,     (June     25,      2024     8:00    PM       EST)
https://www.youtube.com/watch?v=i9xM4tK5TWU (archived at https://perma.cc/8TV5-8PVZ).
13 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E438): Greatest Moments in

U.S.       Presidential     Debate       History,   X,     (June     26,      2024     8:00     PM      EST)
https://x.com/RudyGiuliani/status/1806115297797284136 (archived at https://perma.cc/XH7L-MDXD).
14 Id at 0:00---0: 10
15 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E439): DEBATE NIGHT IN

AMERICA-Previewing The First 2024 Presidential Debate, X, (June 27, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1806477759809810521 (archived at https://perma.cc/EK5G-WMXZ).


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segments         of      the       broadcast.              This        episode        IS       available      at

https://x.com/RudyGiuliani/status/1806477759809810521. A true and correct copy of that video

is submitted with this Declaration as Exhibit 13.

        21.      On Friday, June 28, 2024, Mr. Giuliani broadcast America's Mayor Live. 16 Mr.

Giuliani started during the broadcast "We're in New Hampshire, and the very interesting thing is,

I think it may have been at Saint Anslem College, which is about four miles from here." 17 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for

segments         of      the       broadcast.              This        episode        IS       available      at

https://www.youtube.com/watch?v=wJJsC3SYCF4. A true and correct copy of that video is

submitted with this Declaration as Exhibit 14.

        22.      On Monday, July 1, 2024, Mr. Giuliani broadcast America's Mayor Live. 18 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for

segments         of      the       broadcast.              This        episode        IS       available      at

https://x.com/RudyGiuliani/status/1807927225490235835. A true and correct copy of that video

is submitted with this Declaration as Exhibit 15.

        23.      On Tuesday, July 2, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 19 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.



16 Rudy W. Giuliani, America's Mayor Live, America's Mayor Live (E440): A Recap ofJoe Biden's Terrible, Horrible,

No Good, VeryEadDay, YouTube, (June 28, 2024 8:00 PMEST)https://www.youtube.com/watch?v=wJJsC3SYCF4
(archived at https://perma.cc/E4MJ-ZLHE).
17 Id at 24:19-24:26.
18 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E441): Today's Supreme Court

Ruling UPENDS The Le/i's Plan to Take Down Trump, X, (July 1, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/180792 722549023 583 5 (archived at https://perma. cc/253F-DAX8).
19 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show - Eiden Campaign Facing

Two Major Disasters as They Chart Path Forward - July 2024, X, (July 2, 2024 7:00 PM EST)
https://x.com/RudyGiuliani/status/1808274482609770725 (archived at https://perma.cc/ZW7F-KWA5); Rudy W.
Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E442): The Eiden Campaign Digs in as


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        24.      The July 2, 2024 episode of The Rudy Giuliani Show is available at

https://x.com/RudyGiuliani/status/1808274482609770725. A true and correct copy of that video

is submitted with this Declaration as Exhibit 16.

        25.      The July 2, 2024 episode of America's Mayor Live is available at

https://x.com/RudyGiuliani/status/1808289624919625884. A true and correct copy of that video

is submitted with this Declaration as Exhibit 17.

        26.      On Wednesday, July 3, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

                          °
America's Mayor Live. 2 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        27.      The July 3, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1808636994865840392. A true and correct copy of that video

is submitted with this Declaration as Exhibit 18.

        28.      The July 3, 2024 episode of America's Mayor Live is available at

https://x.com/RudyGiuliani/status/1808652023916835235. A true and correct copy of that video

is submitted with this Declaration as Exhibit 19.

        29.      On Thursday, July 4, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 21 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.




Democrat Party Falls into Full PANIC MODE, X, (July 2, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/l 808289624919625 884 (archived at https://perma. cc/E2LO-E67R).
20 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Latest White House Leaks Indicate a Sinking Ship,

X, (July 3, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1808636994865840392 (archived at
https://perma.cc/P8:XU-XNHM); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live
(E443): Joe Eiden Has No Path Forward if He's Lost the Establishment Media, X, (July 3, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1808652023916835235 (archived at https://perma.cc/2FCP-AFN8).
21 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Celebrating 248 Years ofAmerican Greatness, X,

(July 4, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1808999262723989905 (archived at
https://perma.cc/D8KL-JBBD); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live


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        30.     The July 4, 2024 episode of The Rudy Giuliani Show is available at

https://x.com/RudyGiuliani/status/1808999262723989905. A true and correct copy of that video

is submitted with this Declaration as Exhibit 20.

        31.     The July 4, 2024 episode of America's Mayor Live is available at

https://x.com/RudyGiuliani/status/1809014578166317289. A true and correct copy of that video

is submitted with this Declaration as Exhibit 21.

        32.     On Friday, July 5, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 22 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        33.     The July 5, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1809361634135339216.    A true and correct copy of that video 1s

submitted with this Declaration as Exhibit 22.

        34.     The July 5, 2024 episode of America's Mayor Live is available at

https://x.com/RudyGiuliani/status/1809376842987762123. A true and correct copy of that video

is submitted with this Declaration as Exhibit 23.

        35.     On Monday, July 8, 2024, Mr. Giuliani broadcast America's Mayor Live. 23 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for

segments        of      the       broadcast.              This       episode       IS       available      at




(E444): Celebrating America's 248th Independence Day, X, (July 4, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1809014578166317289 (archived at https://perma.cc/72DH-PVWD).
22 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Joe Eiden Doubles Down; Promises to Stay in Race,

X, (July 5, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1809361634135339216 (archived at
https://perma.cc/45LR-KA2H); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live
(E445): Joe Eiden Doubles Down Despite Growing Calls from Democrats to Bow Out, X, (July 5, 2024 8:00 PM
EST) https://x.com/RudyGiuliani/status/1809376842987762123 (archived at https://perma.cc/PN3H-UZFW).
23 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E446): Growing Number of

House Democrats Publicly Call on Eiden to Drop Out, X, (July 8, 2024 8:01 PM EST)
https://x.com/RudyGiuliani/status/181046435054685 8080 (archived at https://perma. cc/XS2J-SXGS):


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https://x.com/RudyGiuliani/status/1810464350546858080. A true and correct copy of that video

is submitted with this Declaration as Exhibit 24.

        36.      On Tuesday, July 9, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 24 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        37.      The July 9, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1810811212512526656. A true and correct copy of that video

is submitted with this Declaration as Exhibit 25.

        38.      The July 9, 2024 episode of America's Mayor Live is available at

https://x.com/RudyGiuliani/status/1810826338305200397. A true and correct copy of that video

is submitted with this Declaration as Exhibit 26.

        39.      On Wednesday, July 10, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 25 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        40.      The July 10, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1811173574960681258. A true and correct copy of that video

is submitted with this Declaration as Exhibit 27.




24 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Joe Eiden Blames the Media & Party "Elites" for

Sabotaging Campaign, X, (July 9, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1810811212512526656
(archived at https://perma.cc/Z42L-7BFD: Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's
Mayor Live (E447): EIDEN WATCH DAY 12---Seventh House Democrat Calls on Eiden to Exit Race, X, (July 9, 2024
8:00 PM EST) https://x.com/RudyGiuliani/status/1810826338305200397 (archived at https://perma.cc/R8HK-
YAH5).
25 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, First Democrat Senator Calls on Joe Eiden to Exit

Race, X, (July 10, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1811173574960681258 (archived at
https://perma.cc/56EC-4GJ8); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live
(E448): EIDEN WATCH DAY 13-Nancy Pelosi is Preparing to Dump Joe Eiden, X, (July 10, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/181118 8781112025164 (archived at https://perma. cc/SX5U-66CE).


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        41.     The July 10, 2024 episode of America's Mayor Live is available at

https://x.com/RudyGiuliani/status/1811188781112025164. A true and correct copy of that video

is submitted with this Declaration as Exhibit 28.

        42.     On Thursday, July 11, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 26 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        43.     The July 11, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1811535971965657309                                                   and

https://x.com/i/broadcasts/lBdxYEjgwwNxX. A true and correct copy of that video is submitted

with this Declaration as Exhibit 29.

        44.     The July 11, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1811551104909644009                                                   and

https://x.com/i/broadcasts/1 Yqxove WYqZJv. A true and correct copy of that video is submitted

with this Declaration as Exhibit 30.

        45.     On Friday, July 12, 2024, Mr. Giuliani broadcast America's Mayor Live. 27 Mr.

Giuliani began the broadcast by saying "Good evening, this is Rudy Giuliani and this is America's

Mayor Live, live from New Hampshire."28 Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast. This episode is



26 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Dam Has Broken: Democrats Want Joe Eiden

OUT, X, (July 11, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1811535971965657309 (post archived at
https://perma.cc/MS6L-J5DZ), (video archived at https://perma.cc/T8RS-LD7N): Rudy W. Giuliani,
(@RudyGiuliani) America's Mayor Live, America's Mayor Live (E449): LIVE REACTION to Joe Biden's Disastrous
NATO Press Conference, X, (July 11, 2024 8:00 PM) https://x.com/RudyGiuliani/status/1811551104909644009 (post
archived at https://perma.cc/WR4Y-4HSE), (video archived at https://perma.cc/BWB5-P8C4).
27 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E450): Team Eiden Continues

Cover-Up       in Desperate Attempt to          Save     Campaign,     X,    (July   12,  2024   8:00    PM)
https://x.com/RudyGiuliani/status/181191355744 7147969 (post archived at https://perma.cc/U96K-2ZZB), (video
archived at https://perma.cc/PNB6-RL7C).
28 Id at 0:00--0:09.




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available          at         https://x.com/RudyGiuliani/status/1811913557447147969                   and

https://x.com/i/broadcasts/1 DXGydmYrRyKM. A true and correct copy of that video is submitted

with this Declaration as Exhibit 31.

        46.     On Sunday, July 14, 2024, Mr. Giuliani was pictured attending a dinner in

Milwaukee,              Wisconsin. 29         This             post        IS        available           at

https://x.com/TedCGoodman/status/1812690153355227380. A true and correct copy of that post

is attached as Exhibit 32.

        47.     On Monday, July 15, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 30 Mr.

Giuliani began the broadcast by saying "Good evening, this is Rudy Giuliani and we are beginning

our coverage of the Republican National Convention."31 The 2024 Republican National

Convention took place in Milwaukee, Wisconsin. The lower third banner of the screen said

"RUDY GIULIANI I AMERICA'S MAYOR LIVE FROM RNC 2024." This episode is available

at                  https://x.com/RudyGiuliani/status/1812985445636317417                             and

https://x.com/i/broadcasts/lPIJObRwnnvxE. A true and correct copy of that video is submitted

with this Declaration as Exhibit 33.

        48.     On Tuesday, July 16, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 32 The

lower third banner of the screen said "RUDY GIULIANI I AMERICA'S MAYOR LIVE FROM

RNC             2024."             This              episode          IS           available            at




29      Ted      Goodman      (@TedCGoodman)           X     (July    14,    2024   11:26     PM      EST)
https://x.com/TedCGoodman/status/1812690153355227380 (archived at https://perma.cc/83YY-Z9E8) ("We had a
small dinner in Milwaukee to celebrate.")
30 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show Live from RNC, X, (July
15, 2024 6:59 PM EST) https://x.com/RudyGiuliani/status/1812985445636317417 (post archived at
https://perma.cc/4CH6-GJ5P), (video archived at https://perma.cc/J4PY-NEDH).
31 Id at 3:59--4:07.
32 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show Live from RNC, X, (July
16,     2024     7:09  PM) https://x.com/RudyGiuliani/status/1813350146907996242      (post archived at
https://perma.cc/698Y-UW2B), (video archived at https://perma.cc/8HAJ-VYL4).


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https://x.com/RudyGiuliani/status/1813350146907996242                                                    and

https://x.com/i/broadcasts/lnAKEpmolEXxL. A true and correct copy of that video is submitted

with this Declaration as Exhibit 34.

        49.     On Wednesday, July 17, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 33

The lower third banner of the screen said "RUDY GIULIANI I AMERICA'S MAYOR LIVE

FROM            RNC            2024."          This          episode          lS         available         at

https://x.com/RudyGiuliani/status/1813713279107420399                                                    and

https://x.com/i/broadcasts/lLyxBgeDlnrKN. A true and correct copy of that video is submitted

with this Declaration as Exhibit 35.

        50.     On Thursday, July 18, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 34

On the broadcast, Mr. Giuliani said "Hello, this is Rudy Giuliani and I am coming to you from,

you know where, the Republican National Convention." 35 This episode is available at

https://x.com/RudyGiuliani/status/181407225 5753977941                                                   and

https://x.com/i/broadcasts/lDXGydgOlWLKM. A true and correct copy of that video is submitted

with this Declaration as Exhibit 36.

        51.     On Friday, July 19, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 36 On

the broadcast, Mr. Giuliani said "Good evening. This is Rudy Giuliani and I am uh bringing you

The Rudy Giuliani Show and once again, from uh Milwaukee, Wisconsin." 37 This episode is



33 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show Live from RNC, X, (July

17,     2024     7:11  PM)     https://x.com/RudyGiuliani/status/1813713279107420399    (post  archived     at
https://perma.cc/K7NS-OO2L), (video archived at https://perma.cc/4NX6-GPRM).
34 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show Live from RNC, X, (July

18, 2024 6:58 PM) https://x.com/RudyGiuliani/status/1814072255753977941 (archived at https://perma.cc/F79H-
8Z8E).
35 Id at 2:57-3:09.
36 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Recapping the 2024 Republican National

Convention, X, (July 19, 2024 7:00 PM) https://x.com/RudyGiuliani/status/1814435087536345591 (post archived at
https://perma.cc/3RZJ-EUWY), (video archived at https://perma.cc/4GB4-4MRP).
37 Id at 1:16--1:30.




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available            at         https://x.com/RudyGiuliani/status/1814435087536345591                 and

https://x.com/i/broadcasts/lrmGPoaeOrEKN. A true and correct copy of that video is submitted

with this Declaration as Exhibit 37.

        52.      On Friday, July 19, 2024, Mr. Giuliani broadcast America's Mayor Live. 38 Mr.

Giuliani began the broadcast by saying "Good Evening, lbis is America's Mayor Live and Live

from         Milwaukee,         Wisconsin. " 39          This       episode      lS      available      at

https://x.com/RudyGiuliani/status/1814450271197770002                                                 and

https://x.com/i/broadcasts/lLyxBgeAaBOKN. A true and correct copy of that video is submitted

with this Declaration as Exhibit 38.

        53.      On Monday, July 22, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 40

During the broadcast, Mr. Giuliani said "Good evening. This is Rudy Giuliani and I am back uh

with you, back in uh, well, in New Hampshire, in Manchester, New Hampshire today." 41 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for

segments        of        the      broadcast.            This       episode      lS      available      at

https://x.com/RudyGiuliani/status/1815522255654498450                                                 and

https://x.com/i/broadcasts/1 vAxROZljPaKl. A true and correct copy of that video is submitted

with this Declaration as Exhibit 39.




38 Rudy W.    Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E455): President Donald
Trump's Historic 2024 Republican National Convention, X, (July 19, 2024 8:00 PM)
https://x.com/RudyGiuliani/status/1814450271197770002 (post archived at https://perma.cc/33Z5-7D6B), (video
archived at https://perma.cc/AE4B-TCDB).
39 Id. at 0:00-0:08.
40 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Secret Service Director's Testimo,ry Fuels

"Conspiracy Theories", X, (July 22, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1815522255654498450
(post archived at https://perma.ccN6CK-84G3). (video archived at https://perma.cc/5JFP-D3JE).
41 Id. at 1:17-1:26.




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        54.      On Tuesday, July 23, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 42 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        55.      The July 23, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1815884640290496601                                                      and

https://x.com/i/broadcasts/ldRKZdBkkBMJB. A true and correct copy of that video is submitted

with this Declaration as Exhibit 40.

        56.      The July 23, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1815900340958744904                                                      and

https://x.com/i/broadcasts/lrmxPoZEPWDJN. A true and correct copy of that video is submitted

with this Declaration as Exhibit 41.

        57.      On Wednesday, July 24, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 43 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        58.      The July 24, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/18162523 54028859406                                                     and




42 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Eiden Is OUT, Kamala is IN, X, (July 23, 2024 7:00

PM EST) https://x.com/RudyGiuliani/status/l 8l5884640290496601 (post archived at https://perma.cc/CX76-FTHP),
(video archived at https://perma.cc/34E9-SGYU); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live,
America's Mayor Live (E457): Joe Eiden Forced Out as Democrat Party Elites Coronate Kamala Harris, X, (July 23,
2024 8:02 PM EST) https://x.com/RudyGiuliani/status/1815900340958744904 (post archived at
https://perma.cc/467S-JXYP), (video archived at https://perma.cc/3Z2A-LJO6).
43 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Democrat Party "Elites" Coronates Kamala

Harris;     Disenfranchising    Millions   of      Voters,    X,    (July  24,    2024     7:21     PM     EST)
https://x.com/RudyGiuliani/status/1816252354028859406 (post archived at https://perma.cc/AAR9-F9EO), (video
archived at https://perma.cc/39X5-5CO3); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's
Mayor Live (E458): Democrat Party Elites Install Kamala Harris, Diserifranchising Voters, X, (July 24, 2024 8:04
PM EST) https://x.com/RudyGiuliani/status/1816263277271543 865 (post archived at https://perma.cc/CAF6-
WDVC), (video archived at https://perma.cc/P37C-Y85O).


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https://x.com/i/broadcasts/lynKODQNoYrGR. A true and correct copy of that video is submitted

with this Declaration as Exhibit 42.

        59.      The July 24, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1816263277271543865                                                    and

https://x.com/i/broadcasts/1 YpKklXqYWmGj. A true and correct copy of that video is submitted

with this Declaration as Exhibit 43.

        60.      On Thursday, July 25, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 44 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        61.      The July 25, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/18166094020883 00567                                                   and

https://x.com/i/broadcasts/lBdGYEaRO:XlGX. A true and correct copy of that video is submitted

with this Declaration as Exhibit 44.

        62.      The July 25, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1816624487753986447                                                    and

https://x.com/i/broadcasts/lyoJMyNkoYoJQ. A true and correct copy of that video is submitted

with this Declaration as Exhibit 45.




44 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Analyzing FBI Director Christopher Wray's
Disastrous Hearing, X, (July 25, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1816609402088300567 (post
archived at https://perma.ccN5JD-OUBO), (video archived at https://perma.cc/M83G-LJRZ): Rudy W. Giuliani,
(@RudyGiuliani) America's Mayor Live, America's Mayor Live (E459): FBI Director Christopher Wray's Shameful
Testimony         Before       Congress,      X,       (July      25,      2024        8:00     PM       EST)
https://x.com/RudyGiuliani/status/1816624487753986447 (post archived at https://perma.cc/NKT2-CSDA), (video
archived at https://perma.cc/8247-TYZ2).


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        63.       On Saturday July 27, 2024, Mr. Giuliani appeared to briefly livestream from a

conference in Paris, France. 45 Public reporting later confirmed his attendance at the conference. 46

This report is available at https://x.com/RudyGiuliani/status/1817198946722148398. A true and

correct copy of that article is attached as Exhibit 46.

        64.       On Monday, July 29, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 47 Mr.

Giuliani began the broadcast by saying "Good Evening, This is Rudy Giuliani and this is the Rudy

Giuliani      Show,   and this      is   London England."48            This    episode     is   available    at

https://x.com/RudyGiuliani/status/181805 8972240429125                                                      and

https://x.com/i/broadcasts/lRDGlyXbRArJL. A true and correct copy of that video is submitted

with this Declaration as Exhibit 47.

        65.       On Thursday, August 1, 2024, Mr. Giuliani broadcastAmerica's Mayor Live. 49 Mr.

Giuliani began the broadcast by saying "Good evening, this is Rudy Giuliani and I am Live from

Paris          France." 50                        This         episode          lS        available          at

https://x.com/RudyGiuliani/status/18191612125 52466941                                                      and

https://x.com/i/broadcasts/lYpKklRvXOjGj. A true and correct copy of that video is submitted

with this Declaration as Exhibit 48.


45     Rudy       W.     Giuliani,     (@RudyGiuliani)        X      (July     27,      2024      10:02 AM EST)
https://x.com/RudyGiuliani/status/1817198946722148398. See also Rudy W. Giuliani, (@RudyGiuliani), X (July 27,
2024, 9:43 AM) https://x.com/RudyGiuliani/status/1817194066334920716 ("I am about to go live to Iranian
dissidents in Paris, Albania and Iran, yes Iran. Listen live on X or later on the live recording.");
46 Coriference with Mayor Rudy Giuliani on the Anniversary of the Attack on Ashraf lJy Khamenei's Puppet

Government in Iraq, Maryam Rajavi (Aug. 1, 2024), https://www.maryam-rajavi.com/en/conference-mayor-rudy-
giuliani-ashraf-attack-july-28-29-2009/.
47 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Olympics Open Attack on Western Civilization, X,

(July 29, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1818058972240429125 (post archived at
https://perma.cc/5HPF-8R5O), (video archived at https://perma.cc/YC3C-KEKX).
48 Id at 1:16-1:24.
49 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E464): Riden Admin Gives

Plea Deal to 9/1 I Terrorist Khalid Sheikh Mohammed, X, (August 1, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1819161212552466941 (post archived at https://perma.cc/DSA5-WC S7), (video
archived at https://perma.cc/9C4J-2Y7M).
50 Id at 0:00---0:08.




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        66.     On Friday, August 2, 2024, Mr. Giuliani broadcast America's Mayor Live. 51 Mr.

Giuliani appears to be in front of a wall mounted television, which displayed an American flag for

segments       of      the      broadcast.                 This      episode       IS        available      at

https://x.com/RudyGiuliani/status/l 819523718332535010                                                     and

https://x.com/i/broadcasts/ldjGXrbPAPexZ. A true and correct copy of that video is submitted

with this Declaration as Exhibit 49.

        67.     On Monday, August 5, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 52

During the broadcast, Mr. Giuliani confirmed he was "back from my trip to um to France and to

England." 53 Mr. Giuliani appears to be in front of a wall mounted television, which displayed an

American      flag   for     segments   of the     broadcast.        This   episode     1s     available    at

https://x.com/RudyGiuliani/status/182059568483 75 853 64                                                   and

https://x.com/i/broadcasts/1 vOGwrwBAedKB. A true and correct copy of that video is submitted

with this Declaration as Exhibit 50.

        68.     On Tuesday, August 6, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 54 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.




51 Rudy W.   Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E465): Kamala Harris to
Interview SIX Potential VP Picks This Weekend, X, (August 2, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1819523718332535010 (post archived at https://perma.cc/Z7B8-T2CE), (video
archived at https://perma.cc/A4X3-DDYW).
52 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Decision Time for Kamala Harris, X, (August 5,
2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1820595684837585364 (post archived at
https://perma.cc/E3JA-GL9K), (video archived at https://perma.cc/W9HL-SB8S).
53 Id at 1:23-1:30.
54 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Kamala Harris Sides wl Left Flank by Choosing

Tim Walz for VP, X, (August 6, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1820958077681856984 (post
archived at https://perma.ccNNN5-7MCB), (video archived at https://perma.cc/GGR5-6VY2): Rudy W. Giuliani,
(@RudyGiuliani) America's Mayor Live, America's Mayor Live (E467): Kamala Harris Picks Tim Walz for Vice
President, X, (August 6, 2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1820973245518291281 (post
archived at https://perma.cc/N9GK-HSYC), (video archived at https://perma.cc/8V38-5K58).


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        69.      The August 6, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1820958077681856984                                                    and

https://x.com/i/broadcasts/lLyxBgpjPnpKN. A true and correct copy of that video is submitted

with this Declaration as Exhibit 51.

        70.      The August 6, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1820973245518291281                                                    and

https://x.com/i/broadcasts/1 OdJrXagmlqKX. A true and correct copy of that video is submitted

with this Declaration as Exhibit 52.

        71.      On Wednesday, August 7, 2024, Mr. Giuliani broadcast America's Mayor Live. 55

Mr. Giuliani began the broadcast by saying "This is Rudy Giuliani and this is America's Mayor

Live from uh the great state of New Hampshire." 56 Mr. Giuliani appears to be in front of a wall

mounted television, which displayed an American flag for segments of the broadcast. This episode

IS      available        at      https://x.com/RudyGiuliani/status/1821335593533763840                   and

https://x.com/i/broadcasts/lRDGlyjWOAIJL. A true and correct copy of that video is submitted

with this Declaration as Exhibit 53.

        72.      On Thursday, August 8, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 57 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.




55 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E468): Cori Bush of "The

Squad" Loses Primary Election-2 Voted Out, 7 To Go, X, (August 7, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1821335593533763840 (post archived at https://perma.cc/93LS-9W82), (video
archived at https://perma.cc/L33D-HBLO).
56 Id at 0:00--0:11.
57 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Trump Hosts Press Conference That Runs Longer

Than       All      of    Harris 's   Combined,    X,     (August      8,      2024     7:00     PM       EST)
https://x.com/RudyGiuliani/status/1821682848304394642 (post archived at https://perma.cc/5MKE-GDZF), (video
archived at https://perma.cc/4TYY-VPSJ); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's
Mayor Live (E469): Trump Takes Reporter's Questions as Harris Continues to Dodge the Press, X, (August 8, 2024


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        73.      The August 8, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1821682848304394642                                                     and

https://x.com/i/broadcasts/lDXxydBRmkRJM. A true and correct copy of that video is submitted

with this Declaration as Exhibit 54.

        74.      The August 8, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1821697996599521470                                                     and

https://x.com/i/broadcasts/lMY:xNMRmeBNJw.                 A true and correct copy of that video is

submitted with this Declaration as Exhibit 55.

        75.      On Friday, August 9, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 58 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        76.      The August 9, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1822045236677505208                                                     and

https://x.com/i/broadcasts/lMnGnDVwLmNxO.                  A true and correct copy of that video is

submitted with this Declaration as Exhibit 56.

        77.      The August 9, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1822060369768280184                                                     and

https://x.com/i/broadcasts/lMnxnDVwvweGO. A true and correct copy of that video is submitted

with this Declaration as Exhibit 57.



8:00 PM Esn https://x.com/RudyGiuliani/status/1821697996599521470 (post archived at https://perma.cc/36CU-
J7SA), (video archived at https://perma.cc/4VCC-NEJK).
58 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Return of ISIS, X, (August 9, 2024 7:00 PM

Esn https://x.com/RudyGiuliani/status/1822045236677505208 (post archived at https://perma.cc/M4OX-6ROZ),
(video archived at https://perma.cc/7VBX-8TG6); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live,
America's Mayor Live (E470): Weakness in West Reinvigorates the Islamic State ofIraq & Syria (ISIS), X, (August
9, 2024 8:00 PM Esn https://x.com/RudyGiuliani/status/1822060369768280184 (post archived at
https://perma.cc/OW2Z-ZH78), (video archived at https://perma.cc/O87D-8NZ4).


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         78.     On Monday, August 12, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 59

Mr. Giuliani began the broadcast by saying "Good evening, it's Rudy Giuliani and sitting behind

me is not the World's Fair. No, no, it's not, it's not the closing down of the pornographic

Olympics, it's not, it's not Las Vegas. You know, that building over this shoulder, over this

shoulder-I gotta make sure I've got the right one-over this shoulder there, right there, right

there.    That is not a casino, that's Dallas Texas." 60                  This episode is available at

https://x.com/RudyGiuliani/status/1823132360692682848                                                     and

https://x.com/i/broadcasts/lmrxmMdAnkzxy. A true and correct copy of that video is submitted

with this Declaration as Exhibit 58.

         79.     On Tuesday, August 13, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 61

During the broadcast, Mr. Giuliani said "this is Rudy Giuliani and this is the Rudy Giuliani Show.

Right behind me is the festive city of Dallas Texas." 62                   This episode is available at

https://x.com/RudyGiuliani/status/1823494772872634874                                                     and

https://x.com/i/broadcasts/ldRKZdoeBrmJB. A true and correct copy of that video is submitted

with this Declaration as Exhibit 59.

         80.     On Wednesday, August 14, 2024, Mr. Giuliani broadcast America's Mayor Live. 63

Mr. Giuliani began the broadcast by saying "Rudy Giuliani coming to you with America's Mayor




59 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, President Trump to Sue Justice Department Over

Mar-a-Lago Raid, X, (August 12, 2024 7:00 PM) https://x.com/RudyGiuliani/status/1823132360692682848 (post
archived at https://perma.cc/3U8S-A6WF). (video archived at https://perma.cc/73O2-W6OR).
60 Id at 1:10-1:41.
61 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Press Continues to Capitulate to Kamala Harris

and Her Campaign, X (August 13, 2023 7:00 PM Esn https://x.com/RudyGiuliani/status/1823494772872634874
(post archived at https://perma.cc/6NLX-JLTC).
62 Id at 2:15-2:30.
63 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E473): President Trump

Delivers Home Run Economic Speech as Kamala Dodges Qs, X, (August 14, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1823872328964694471 (post archived at https://perma.cc/TESD-ZWMD, (video
archived at https://perma.cc/8W6H-TTJZ).


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Live. Live by the skin of our teeth, from Manchester, New Hampshire." 64 Mr. Giuliani appears

to be in front of a wall mounted television, which displayed an American flag for segments of the

broadcast. This episode is available at https://x.com/RudyGiuliani/status/1823 8723289646944 71

and https://x.com/i/broadcasts/lRDxlyBOZglKL.             A true and correct copy of that video is

submitted with this Declaration as Exhibit 60.

          81.        On Thursday, August 15, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show

and America's Mayor Live. 65 For both programs, Mr. Giuliani appears to be in front of a wall

mounted television, which displayed an American flag for segments of the broadcast.

          82.        The August 15, 2024 episode of The Rudy Giuliani Show is available at

https://x.com/RudyGiuliani/status/1824219563267064207                                                   and

https://x.com/i/broadcasts/lMnGnDAMZlOxO. A true and correct copy of that video is submitted

with this Declaration as Exhibit 61.

          83.        The August 15, 2024 episode of America's Mayor Live is available at

https://x.com/RudyGiuliani/status/1824234802490511501                                                   and

https://x.com/i/broadcasts/1 OdKrXkjBBOJX. A true and correct copy of that video is submitted

with this Declaration as Exhibit 62.

          84.        On Friday, August 16, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 66

Mr. Giuliani began the broadcast by saying "Good evening, this is the Rudy Giuliani Show, and



64 Id at 0:00---0: 17.
65 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, JD Vance & Tim Walz Agree to Oct. 1 Debate on

CBS, X, (August 15, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1824219563267064207 (post archived at
https://perma.cc/8DHJ-67DP), (video archived at https://perma.ccNLU8-HBZB): Rudy W. Giuliani,
(@RudyGiuliani) America's Mayor Live, America's Mayor Live (E474): Kamala's Campaign Doctored Headlines on
Google       to      Create    Fake     Support,     X,      (August      15,    2024   8:00     PM     EST)
https://x.com/RudyGiuliani/status/1824234802490511501 (post archived at https://perma.cc/8F4F-DGF4), (video
archived at https://perma.cc/93Z4-LXTU).
66 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Harris Reverses Clinton Promise to, "End Welfare

as we Know it", X, (August 16, 2024 7:00 PM EST) https://x.com/RudyGiuliani/status/1824582094997295408 (post
archived at https://perma.cc/8VLS-P53L), (video archived at https://perma.cc/8A8V-WMLM).


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uh we are bringing it to you from New Hampshire." 67 Mr. Giuliani appears to be in front of a wall

mounted television, which displayed an American flag for segments of the broadcast. This episode

lS       available        at       https://x.com/RudyGiuliani/status/1824582094997295408               and

https://x.com/i/broadcasts/lynKODnLMrzGR. A true and correct copy of that video is submitted

with this Declaration as Exhibit 63.

         85.      On Monday, August 19, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 68

The title of the episode identifies Mr. Giuliani's location at the Democratic National Convention,

which      took       place    m    Chicago,    Illinois.       This     episode     1s    available    at

https://x.com/RudyGiuliani/status/18256719883 72975853                                                 and

https://x.com/i/broadcasts/lyNxagyqpMDGj. A true and correct copy of that video is submitted

with this Declaration as Exhibit 64.

         86.      On Tuesday, August 20, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 69

The title of the episode identifies Mr. Giuliani's location at the Democratic National Convention,

which      took       place    m    Chicago,    Illinois.       This     episode     1s    available    at

https://x.com/RudyGiuliani/status/1826032015873028215                                                  and

https://x.com/i/broadcasts/1 YpJklPV gnyxj. A true and correct copy of that video is submitted with

this Declaration as Exhibit 65.




67 Id at 1:10-1:18.
68 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America's Mayor Live

at the DNC, X, (August 19, 2024 7:11 PM EST) https://x.com/RudyGiuliani/status/1825671988372975853 (post
archived at https://perma.cc/UMX7-:XZ82), (video archived at https://perma.cc/WA3K-2DHN).
69 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America's Mayor Live
(E477) at the DNC-Day 2, X, (August 20, 2024 7:02 PM EST)
https://x.com/RudyGiuliani/status/1826032015873028215 (post archived at https://perma.cc/3FME-1NP8), (video
archived at https://perma.cc/8DLO-262M).


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        87.        On Wednesday, August 21, 2024, Mr. Giuliani broadcast The Rudy Giuliani

Show. 70 The title of the episode identifies Mr. Giuliani's location at the Democratic National

Convention, which took place in Chicago, Illinois.                      This episode is available at

https://x.com/RudyGiuliani/status/18263445 53 663 844827                                                and

https://x.com/i/broadcasts/lynJODnBdkqxR. A true and correct copy of that video is submitted

with this Declaration as Exhibit 66.

        88.        On Thursday, August 22, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show. 71

The title of the episode identifies Mr. Giuliani's location at the Democratic National Convention,

which       took     place   m     Chicago,      Illinois.       This     episode      1s   available     at

https://x.com/RudyGiuliani/status/182674507 687 5493 697                                                and

https://x.com/i/broadcasts/1 YqKDkmNYLOxV. A true and correct copy of that video is submitted

with this Declaration as Exhibit 67.

        89.        On Friday, August 23, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 72 The same day, he posted on X/Twitter, saying "Join us as we wrap up

our week from the Windy City and the 2024 Democrat National Convention." 73 This post is

available            at       https://x.com/RudyGiuliani/status/1827145957399548367                     and


70 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America's Mayor Live
(E478)       at      the      DNC-Day      3,    X,      (August      21,       2024      3:44   PM     Esn
https://x.com/RudyGiuliani/status/1826344553663844827 (post archived at https://perma.cc/N4P-OYDE), (video
archived at https://perma.cc/9ZSW-NBMD.
71 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show on America's Mayor Live

(E479)       at      the      DNC-Day      4,    X,      (August      22,       2024      6:15   PM     Esn
https://x.com/RudyGiuliani/status/1826745076875493697 (post archived at https://perma.cc/77S6-62X8), (video
archived at https://perma.cc/56KE-GH9H).
72 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, The Rudy Giuliani Show Live (E480) Recapping the

DNC, X, (August 23, 2024 7:25 PM Esn https://x.com/RudyGiuliani/status/1827125130910408798 (post archived
at https://perma.cc/7 AWN-R3BG), (video archived at https://perma.ccNLX6-AOAB); Rudy W. Giuliani,
(@RudyGiuliani) America's Mayor Live, America's Mayor Live (E480): RFK Jr. Endorses President Trump, X,
(August 23, 2024 8:01 PM EST) https://x.com/RudyGiuliani/status/1827134085187432954 (post archived at
https://perma.cc/6WND-5W5F), (video archived at https://perma.cc/SU88-ORYN).
73     Rudy     W.       Giuliani,  (@RudyGiuliani),    X,    (August      23,     2024     8:48  PM    Esn
https://x.com/RudyGiuliani/status/18271459573995483 67 (post archived at https://perma.cc/2UVZ-6YSF).


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https://x.com/i/broadcasts/1 OdKrXnaDrOJX. A true and correct copy of that post is attached as

Exhibit 68.

            90.   The backgrounds of Mr. Giuliani's livestreams suggest that Mr. Giuliani is in a

building a city center, likely Chicago given his post about the Windy City. The background

appears to be a view from approximately the location of Trump Tower, located at 401 N Wabash

Ave, Chicago, IL 60611, according to Google Earth. 74

            91.   The August 23, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1827125130910408798                                                    and

https://x.com/i/broadcasts/lyNxagEzWXRGj. A true and correct copy of that video is submitted

with this Declaration as Exhibit 69.

            92.   The August 23, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1827134085187432954                                                    and

https://x.com/i/broadcasts/1 OdKrXnaDrOJX. A true and correct copy of that video is submitted

with this Declaration as Exhibit 70.

            93.   On Monday August 26, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 75 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for portions of the broadcast.




74 Google  Earth, https://earth.google.com/web/search/Trump+Tower,+North+Wabash+Avenue,+Chicago,+IL/@41.
89112016,-87 .62889716,211. 74038269a,272.10573499d,35y,-42.00145036h, 77 .24988903t,0r/data=CiwiJgokCW
1bUYISgUVAEbgiyAm5gEVAGUlY-zly3VHAlejJ9ndt3VHAOgIIAToDCgEwSgOI                               ARAA        (last
visited October 1, 2024).
75 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, President Trump Honors Fallen Heroes ofthe 2021

Kabul,      Afghanistan       Airport     Attack,    X,    (August    26,    2024      7:01    PM       EST)
https://x.com/RudyGiuliani/status/1828206074543120509 (post archived at https://perma.cc/3VCD-O47B), (video
archived at https://perma.cc/H6DJ-VKRR); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's
Mayor Live (E481): President Trump Honors Fallen Heroes of the 2021 Afghanistan Withdrawal, X, (August 26,
2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1828221047440843147 (post archived at
https://perma.cc/4CYJ-RMKK), (video archived at https://perma.cc/D9LL-RNV9).


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        94.     The August 26, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/1828206074543120509                                                  and

https://x.com/i/broadcasts/lmrxmMDRYnMxy. A true and correct copy of that video is submitted

with this Declaration as Exhibit 71.

        95.     The August 26, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1828221047440843147                                                  and

https://x.com/i/broadcasts/lrmGPowmgyXKN. A true and correct copy of that video is submitted

with this Declaration as Exhibit 72.

        96.     On Tuesday, August 27, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show and

America's Mayor Live. 76 For both programs, Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast.

        97.     The August 27, 2024 episode of The Rudy Giuliani Show 1s available at

https://x.com/RudyGiuliani/status/18285683 80703666178                                                 and

https://x.com/i/broadcasts/1 OdKrXngjMqJX. A true and correct copy of that video is submitted

with this Declaration as Exhibit 73.

        98.     The August 27, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1828583380965019996                                                  and

https://x.com/i/broadcasts/1 gqGvNPaerlGB. A true and correct copy of that video is submitted

with this Declaration as Exhibit 74.




76 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Mark Zuckerberg Admits to Role in Rigging the

2020        Presidential      Election,     X,     (August      27,      2024        7:00      PM       EST)
https://x.com/RudyGiuliani/status/1828568380703666178 (post archived at https://perma.cc/S4MB-4THY), (video
archived at https://perma.cc/WH7H-TCJP); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's
Mayor Live (E482): Mark Zuckerberg Admits Facebook's Role in Rigging the 2020 Election, X, (August 27, 2024
8:00 PM EST) https://x.com/RudyGiuliani/status/1828583380965019996 (post archived at https://perma.cc/Y4YM-
TW22), (video archived at https://perma.cc/9HWS-9XNM).


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        99.     On Wednesday, August 28, 2024, Mr. Giuliani broadcast America's Mayor Live. 77

Mr. Giuliani began the broadcast by saying "Good evening, this is America's Mayor Live from uh

'Live Free or Die' New Hampshire." 78 Mr. Giuliani appears to be in front of a wall mounted

television, which displayed an American flag for segments of the broadcast. lbis episode is

available          at         https://x.com/RudyGiuliani/status/1828945772966228273                     and

https://x.com/i/broadcasts/lMnxnDbDaVVGO. A true and correct copy of that video is submitted

with this Declaration as Exhibit 75.

        100.    On Thursday, August 29, 2024, Mr. Giuliani broadcast The Rudy Giuliani Show

and America's Mayor Live. 79 For both programs, Mr. Giuliani appears to be in front of a wall

mounted television, which displayed an American flag for segments of the broadcast.

        101.    The August 29, 2024 episode of The Rudy Giuliani Show is available at

https://x.com/RudyGiuliani/status/182929303 8637859073                                                  and

https://x.com/i/broadcasts/lMnxnDOBNXwGO.                 A true and correct copy of that video is

submitted with this Declaration as Exhibit 76.

        102.    The August 29, 2024 episode of America's Mayor Live 1s available at

https://x.com/RudyGiuliani/status/1829308110735028531                                                   and




77 Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's Mayor Live (E483): Analyzing Kamala

Harris' Flip Flop on Virtually Every Major Issue, X, (August 28, 2024 8:00 PM EST)
https://x.com/RudyGiuliani/status/1828945772966228273 (post archived at https://perma.cc/9VXC-G9VR), (video
archived at https://perma.cc/KW5Z-P4JS).
78 Id. at 0:00--0:11.
79 Rudy W. Giuliani, (@RudyGiuliani) The Rudy Giuliani Show, Contrasting Trump's Townhall Tonightwl Kamala 's

Pre-Taped,        "Joint"   Interview   on    CNN,       X     (August   29,     2024    7:00   PM     EST)
https://x.com/RudyGiuliani/status/1829293038637859073 (post archived at https://perma.cc/GF3N-DKLK), (video
archived at https://perma.cc/8ZTG-R983); Rudy W. Giuliani, (@RudyGiuliani) America's Mayor Live, America's
Mayor Live (E484): Comparing & Contrasting Styles-Trump Townhall v. Harris Joint Interview, X (August 29,
2024 8:00 PM EST) https://x.com/RudyGiuliani/status/1829308110735028531                  (post archived at
https://perma.cc/FFK9-CZPH), (video archived at https://perma.cc/3G3F-6UNC).



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 https://x.com/i/broadcasts/ lYqxovnYALjJv. A true and correct copy ofthat video is submitted

 with this Declaration a~ Exhibit 77.



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 Executed on October 2,




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